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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COURT                                                       FILED
                                                                    for the                                            FEB /9 2020
                                                         Eastern District of Missouri
                                                                                                                 U.S. DISTRICT COURT
                                                                                                               EASTERN DISTRICT OF MO
              In the Matter of the Search of                                                                           ST. LOUIS
                                                                       )
         (Briefly describe the property to be searched                 )
          or identifY the person by name and address)                  )         Case No. 4:20 MJ 3078 NCC
     Precision Location Information; Subscriber &                      )
  Transactional Records; Cell Site Information; Pen                    )
Register & Trap-and-Trace for Phone# (314) 267-0816                    )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identifY the person or describe the
property to be searched and give its location):

  See Attachment A.
located in the - - - - - - - - District of - - - - -Kansas
                                                     - - - - - - - , there is now concealed (identifY the
person or describe the property to be seized):
  See Attachment B.


          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                 ~evidence of a crime;
                 ~contraband, fruits of crime, or other items illegally possessed;
                 r5' property designed for use; intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                        Offense Description

        Title 21, USC Section 841, 846                      Conspiracy to possess with intent to distribute controlled substances.

          The application is based on these facts:



           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more:t1J.J.i:l.l~~li:lys: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set fort the atta         sheet.
                                                                                          .   -----~~~-::~




                                                                                   Robert B. Honnet, Special Agent, DEA
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:            02/19/2020

City and state:                   St. Louis, MO                                    Noelle C. Collins, US Magistrate Judge
                    --------'----------
                                                                                              Printed name and title
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                                                                                           FILED

                                    UNITED STATES DISTRICT COURT                        FEB lt{ 2020
                                    EASTERN DISTRICT OF MISSOURI                      U. S. DISTRICT COURT
                                          EASTERN DNISION                           EASTERN DISTRICT OF MO
                                                                                             ST. LOUIS

  IN THE MATTER OF AN APPLICATION                       )
  OF THE UNITED STATES OF AMERICA                       )
  FOR AWARRANT TO OBTAIN                                )     No. 4:20 MJ 3078 NCC
  LOCATION INFORMATION, INCLUDING                       )
  PRECISION LOCATION INFORMATION;                       )
  SUBSCRIBER AND TRANSACTIONAL                          )       FILED UNDER SEAL
  RECORDS; CELL SITE INFORMATION;                       )
  AND FOR A PEN REGISTER AND TRAP                       )
  AND TRACE DEVICES FOR PHONE                           )
  NUMBER (314) 267-0816.                                )

                            AFFIDAVIT FOR INITIAL APPLICATION

          I, Special Agent Robert B. Honnet, being first duly sworn, hereby depose and state as

 follows:      .
                               ~




                             INTRODUCTION AND AGENT BACKGROUND

          1.       I make this affidavit in support of an application for a warrant and order pursuant

 to Rule 41and18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(l)(A) for information associated

 with a cellular telephone (314) 267-0816 (hereinafter referred to as the "subject cellular

 telephone") to require Sprint (hereinafter "the Provider"), and/or any service providers reflected

 in Attachment A, to include providers of any type of wire and/or electronic communications, and

 any other applicable service providers, to disclose to the United States location information,

 including precision location information, transactional and subscriber data and cell site location

, information, and the installation and use of other pen register and trap and trace devices associated

 with the subject cellular telephone, as described in Attachment B to the requested warrant and

 order.




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       2.      I am a. Special Agent with the Drug Enforcement Administration, and have been

since August 2016. During the course of my law enforcement experience, I have participated in

numerous investigations involving controlled substances, including complex. investigations

involving drug trafficking organizations dealing in cocaine, metharnphetamine, heroin, marijuana,

and other controlled substances. As part of my training at Quantico, I attended courses on Asset

Forfeiture and financial investigations. Prior to becoming a Special Agent, I served as a Tennessee

Alcoholic Beverage Commission Special Agent for five (5) years, assigned as a Task Force Officer

to a DEA High Intensity Drug Trafficking Area (HIDTA) Task Force. Prior to this, I served as a

Jefferson County Sheriffs Office Deputy Sheriff, in BirmingHarn, Alabama for one (1) year.

During that time, I had extensive training in narcotics investigations and financial investigations.

I've also conducted several narcotics investigations leading to the arrest and conviction of

offenders and the seizure of narcotics and drug proceeds.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.      The present affidavit is being submitted in connection with an application of the

United States for a warrant and order authorizing agents/officers of the investigative agency(ies),

and other authorized federal/state/local law enforcement agencies, to obtain location information,

including precision location information, cell site location information, and other signaling

information, including pen register information, in an effortI to locate and monitor the location of

the subject cellular telephone.



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       5.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that the subject cellular telephone is currently being used in

connection with violations of Title 21, United States ,Code, Section(s) 846 and 841(a)(l)

(Conspiracy to Possess with Intent to Distribute a Controlled Substance(s) and Possession with

Intent to Distribute a Controlled Substance(s)) and other offenses of Federal law (hereinafter

referred to as "the subject offenses"), by Jamore CLARK, Jason JONES, Arie GRAHAM, and

others known and unknown. There is also probable cause to believe that the location information

described in Attachment B to the requested warrant and order will lead to evidence of the

aforementioned subject offenses as well as to the identification of individuals who are engaged in

the commission of those criminal offense and related crimes.

                    BACKGROUND CONCERNING WIRELESS PROVIDERS

       6.      Based on my knowledge, training, and experience, as well as information provided

by investigators with specialized experience relating to cellular telephone technology, I am aware

of the following facts and considerations:

       a.      Wireless phone providers typically generate and retain certain transactional

information about the use of each telephone call, voicemail, and text message on their system.

Such information can include log files and messaging logs showing all activity on a particular

account, such as local and long distance telephone connection records, records of session times

and durations, lists of all incoming and outgoing telephone numbers or other addressing

information associated with particular telephone calls, voicemail messages, and text or multimedia

messages.

       b.      Wireless phone providers also typically generate and retain information about the

location in which a particular communication was transmitted or received. For example, when a
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cellular device is used to make or receive a call, text message or other communication, the wireless
                                                                                         l




phone provider will typically generate and maintai~ a record of which cell tower(s) was/were used

to process that contact. Wireless providers maintain information, including the corresponding cell

towers (i.e., tower covering specific geographic areas), sectors (i.e., faces of the towers), and other

signaling data as part of their regularly conducted business activlties. Typically, ~reless providers

maintain records of the cell tower information associated with the beginning and end of a call.

        c.     Because cellular devices generally attempt to communicate with the closest cell

tower available, cell site location information from a wireless phone provider allows investigators

to identify an approximate geographic location from which a communication with a particular

cellular device originated or was received.

        d.      Wireless providers may also retain text messaging logs that include specific

information about text and multimedia messages sent or received from the account, such as the

dates and times of the messages. A provider may also retain information about which cellular

handset or device was associated with the account when the messages were sent or received. The

provider could have this information because each cellular device has one or more unique

identifiers embedded inside it. Depending upon the cellular network and the device, the embedded

unique identifiers for a cellular device could take several different forms, including an Electronic

Serial Number ("ESN"), a Mobile Electronic Identity Number ("MEIN"), a Mobile Identification

Number ("MIN"), a Subscriber Identity Module ("SIM"), an International Mobile Subscriber

Identifier ("IMSI"), a Mobile Subscriber Integrated Services Digital Network Number

("MSISDN"), or an International Mobile Station Equipment Identity ("IMEi").           When a cellular

device connects to a cellular antenna or tower, it reveals its embedded unique identifiers to the



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cellular antenna or tower in order to obtain service, and the cellular antenna or tower records those

identifiers.

        e.     Wireless providers also maintain business records and subscriber information for

particular accounts. This information could include the subscriber's full name and address, the

address to which any equipment was shipped, the date on which the account was opened, the length
                                                                        l,                   I



of service, the types of service utilized, the ESN or other unique identifier for the cellular device

associated with the account, the subscriber's SoCial Security Number and date of birth, all

telephone numbers and other identifiers associated with the account, and a description of the

services available to the account subscriber. In addition, wireless providers typically generate and

retain billing records for each account, which may show all billable calls (including outgoing digits

dialed). The providers may also have payment information for the account, including the dates

and times of payments and the means and source of payment (including any credit card or bank

account number).

        f.     Providers of cellular telephone service also typically have technical capabilities that

allow them to collect and generate more precise location information than that provided by cell

site location records. This information is sometimes referred to as E-911 phase II data, GPS data

or latitude-longitude data. I In the Eastern District of Missouri, such information is often referred

to as precision location information or PLI data. E-911 Phase II data provides relatively precise

location information about the cellular telephone itself, either via GPS tracking technology bui:It

into the phone or by attempting to triangulate the device's signal using data from several of the

provider's cell towers. Depending on the capabilities of the particular phone and provider, E-911

data can sometimes provide precise information related to the location of a cellular device.



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       g.      In order to locate the subject cellular telephone and monitor the movements of the

phone, the investigative agency(ies), and other authorized federaVstate/local law enforcement

agencies, may need to employ one or more techniques described in this affidavit and in the

application of the United States.         The investigative agency(ies), and other authorized

federal/state/local law enforcement agencies, may seek a warrant to compel the Provider, any

telecommunication service providers reflected in Attachment A to the requested Warrant and

Order, to include providers of any type of wire and/or electronic communications (herein

incorporated by reference), and any other applicable service providers, to provide precision

location information, including Global Position System information (if available), transactional

records, including cell site location information, and pen register and trap and trace data.

                        INVESTIGATION AND PROBABLE CAUSE

       7.      The United States, including Drug Enforcement Administration (hereinafter

DEA),, is conducting a criminal investigation of Jamore CLARK, Jason JONES, Arie

GRAHAM, and others known and unknown, regarding the commission of the subject offenses.

       8.      On September 16, 2019, investigators from the DEA St. Louis Division (SLDO)

Group 3 8 were contacted by Homicide      Dete~tives   of the St. Louis County Police Department

(SLCPD) in reference to narcotics discovered during an investigation into the murder of Eboni

Brown. Investigators were informed that, while searching Brown's residence for the perpetrator

and/or any firearms which may have been used in the shooting death of Brown, SLCPD Detectives

discovered, in plain view, seven (7) separate duffle bags/backpacks containing methamphetamine.

Upon arrival, DEA investigators were directed to the basement of the residence, and informed by

SLCPD Detectives had also discovered a chest of drawers containing drug-paraphernalia (boxes

of rubber gloves, masks, boxes of plastic baggies), multiple plastic blenders containing a white
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powdery substance believed to be Fentanyl, anAR-15 rifle anda ZTE flip styleplione. In addition,

Detectives discovered, in plain view, a large hydraulic press, an electronic money counter, and a

locked Union brand safe. (Affiant' s note: Your affiant is aware, through training and experience,

that the items discovered in the chest of drawers, as well as the hydraulic press, signify that the

basement was being utilized for the clandestine production and packaging of kilogram quantity

amounts ofFentanyl.) In addition to the items discovered by SLCPD Detectives in, the basement

of the residence, a search of the master bedroom of the residence resulted in the discovery of a

semi-automatic handgun and two (2) cellular telephones. SLCPD Detectives also seized a 2013

Dodge Charger, present outside of the residence, which was believed to be owned and operated by

Anderson Stallings. A search of the seven (7) duffle bags/back packs, by members of the SLCPD

Investigators revealed a total of 172 separate clear plastic baggies, each weighing approximately

one (1) pound and containing a clear crystalized substance. The 172 plastic baggies, each believed

to contain approximately one (1) pound of ice-methamphetamine, seven (7) bags originally

containing the aforementioned plastic bags, drug-residue covered paraphernalia, hydraulic press,

and money counter was seized and maintained by DEA investigators. The Dodge Charger, locked

Union brand safe, two (2) firearms, two (2) cellular telephones, and the ZTE flip style phone were

seized and maintained by the SLCPD.

       9.      On September 17, 2019 SLCPD Detectives obtained a State of Missouri search

warrant for the locked Union brand safe seized from 419 Thrift Avenue on September 16, 2019.

At approximately 1:30 p.m., SLCPD Detectives, as well as investigators of DEA Group 38,

executed the aforementioned search warrant on the locked Union brand safe. Upon accessing the

safe, the following items were discovered and seized: suspected drug ledgers, four (4) separate

clear plastic baggies containing a total of approximately 1.6 kilograms of Fentanyl, two (2) clear
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plastic bags containing approximately one (1) pound of ice-methamphetamine, one (1) Glock

lOmm pistol, one (1) Springfield Armory .45 caliber pistol, and $210.40 in U.S. Currency (USC).

All of the aforementioned items were seized and maintained by the SLCPD for DNA analysis and

safekeeping.

       10.     On September 18, 2019 and September 19, 2019, SLCPD Detectives, as well as

investigators from DEA, conducted interviews of members of Eboni Brown's family, in relation

to any information which may identify potential suspects in her homicide. Cooperating family

members reported that Jamore "Rocc" CLARK, hereinafter "CLARK" had access to Brown's

home. Family members informed investigators that they (family members) were informed that

Brown was allowing CLARK to store narcotics and money in the basement of her home. In return,

CLARK paid Brown's monthly rent. Additionally, family members stated that Brown distributed

marijuana, which she reportedly acquired from CLARK. Brown specifically informed family

members that CLARK actively distributed Fentanyl, stored bulk currency in a safe located in the

basement, and was in the process of installing video surveillance equipment in her (Brown's)

home. Brown's family members reported that they have observed CLARK in possession of

multiple large stacks of bulk currency while at Brown's residence and have additionally, on

multiple occasions, observed CLARK, while in the basement of the residence and wearing a

surgical mask and latex gloves; placing "rocks" of an unknown substance into multiple blenders,

and blending intermittently until the "rocks" had become a powder. (Affiant' s note: From training

and experience, your affiant is aware that Brown's family members are describing the clandestine

preparation of Fentanyl for distribution.) Upon grinding the "rocks" into a powder, family

members observed CLARK and two (2) other (unknown) black males place the powdery

substance into multiple clear zip-lock bags. Family members also reported seeing CLARK utilize
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     an electronic money counter, while in the basement of the residence, to count large stacks of money

     before rubber banding the money into smaller stacks and placing the smaller stacks into a black ~

     trash bag. The family members informed investigators that while CLARK engaged in these

     narcotics related activities, he (CLARK) was' in possession of a pistol, which he placed on top of

     a bookcase, along with multiple cellular telephones. (Affiant's note: This is the same bookcase in

     which the electronic money counter was discovered on September 16, 2019.) Family members

     additionally provided a cellular telephone number which they utilized to contact CLARK.
"-            11.      Throughout the investigation into CLARK, and his (CLARK's) St. Louis based

     drug-trafficking organization (DTO), CLARK was identified as amember of the Crips street gang,

     and multi-kilogram fentanyl SOS for the St. Louis based Geraldine Street Crips gang member

     Jason JONES, hereinafter "JONES".

              12.      In November of 2019, during an interview with a, SLCPD Confidential Source 1,

     hereinafter referred to as "CS," JONES was identified as a high-ranking member of the Geraldine

     Street Crip street gang, responsible for distributing multiple ounces of fentanyl throughout the

     Walnut Park area of the city of St. Louis. The CS informed investigators that JONES no longer
                           I

     lives in the Walnut Park area, but is aware through conversations with JONES, that JONES

     utilizes multiple narcotic and bulk cash "stash" locations, in the Walnut Park area.

              13.      During the course of this investigation, investigators utilized the CS to conduct two

     (2) separate controlled purchases of ounce quantities of fentanyl from JONES. Investigators




              1
                The CS' information has been corroborated through physical surveillance, consensual phone calls, either
     monitored or recorded by investigators between CS and JONES, and verified through controlled purchases. The
     information provided by the CS relative to JONES has never been found to be false. The CS has no prior felony
     convictions, but has active charges pending in Federal court, and his/her cooperation is for the purpose of sentencing
     consideration for the aforementioned charges.
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conducted surveillances of these controlled purchases and recorded phone calls between the CS

and JONES over JONES' telephone.

       14.    Investigators were able to prepare an affidavit requesting the courts permission to

monitor JONES' telephone based on the controlled purchases of fentanyl while utilizing the CS,

as well as the overall investigation. On February 3, 2020, the Honorable Stephen R. Clark, United

States District Judge, Eastern District of Missouri, signed an order authorizing the investigative

team to monitor wire and electronic messaging of the cellular telephone utilized by JONES. On

February 3, 2020, investigators began monitoring JONES' telephone at the DEA facility located

in St: Louis, Missouri. Monitoring of JONES' telephone is ongoing with the authorization

scheduled to expire on March 5, 2020.

       15.     While monitoring JONES' telephone, investigators intercepted numerous pertinent

telephone and text messages between JONES and several identified and unidentified subjects who

were attempting to purchase various quantities of ice-methamphetamine and fentanyl from

JONES. In addition to conversations with subjects attempting to purchase drugs from JONES,

investigators intercepted telephone conversations between JONES and JONES' courier, Arie

GRAHAM (hereinafter "GRAHAM"), during which, JONES instructed GRAHAM to obtain

and transport currency, as well as obtain narcotics from different unknown locations and transport

the aforementioned narcotics to various unidentified distributors. During the interception of

JONES' telephone, investigators have observed that     JONES~rarely    interacts directly with his

(JONES') distributors, and utilizes GRAHAM for the purpose ofdirectly supplying narcotics to,

and obtaining currency from, his (JONES') distributors.

       16.     Summaries and quotations of certain calls of wire and electronic communications

intercepted during that period of interception are included in this affidavit, and are based on
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preliminary summaries prepared by wiretap monitors. To the extent quotations are used in the

descriptions below, the quoted segments are based on "line sheets" and review of recordings are

not final or certified transcripts. In addition, all dates and times are approximate and based on the
                                        "
monitoring equipment at the time the call was intercepted and only a sampling of the relevant calls

are described. Where a portion of the intercepted call was unintelligible upon by wire monitors

upon their initial review of the call, that portion of the call is denoted herein with [U/l].

         17.     On February 4, 2020, at 8:54 a.m. (Session #12), JONES (utilizing cellular

telephone number (314) 614-6381) received an incoming call from GRAHAM, (utilizing cellular

telephone number (314) 326-25972 , hereinafter "the predecessor telephone"). The following is a

transcript of the intercepted telephone call:

                 [ ... ]

                 JONES:            Uh, grab them things (ounces offentanyl) from, Tez. Can you do it,

                                   or you got something to do?

                 [ ... ]

                 JONES:            So, he already got ten (10) done (10 ounces of fentanyl .prepared)

                                   and Kevin want three (3), right now.

                 GRAHAM:           Yeah, T, T, Tsay ...

                 JONES:            T.

                 GRAHAM:           He ready too today.

                 JONES:            He say what?


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          Requested subscriber information identified this Sprint based cellular telephone numbers is registered to
Arie GRAHAM at 4921 Theodore Avenue in St, Louis, Missouri. During a surveillance operation on February 7,
2020, investigators identified GRAHAM, following a telephone conversation between him and JONES. GRAHAM
was identified via State of Missouri Driver's License photograph, and observed operating a vehicle in which he
(GRAHAM) received numerous historical City of St. Louis traffic citations.
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               GRAHAM:        He say he probably going to be ready today, too.

               JONES:         How many?

               GRAHAM:        Shit, I think was the same, what, like eight (8) or something like that.

               JONES:         He gonna have to, yeah, we ain't got ten (10) of them done at that.

                              We ain't got Kev-o's and shit, it gonna be like seven (7) of them, so.

               GRAHAM:        Yeah.

               JONES:         But, I'm fixing to call Tez right now and tell him you fixing to be on

                              the way.

               GRAHAM:        Aight.

               [ ... ]

       18.     Based upon my training and experience, the above-referenced conversation consists

of JONES initially requesting that GRAHAM obtain narcotics from an unknown individual,

identified only as "Tez." JONES later informs GRAHAM that "Tez" has ten (10) ounces of

fentanyl prepared, and that "Kevin" has requested three (3) ounces, and that "T" should be

provided with his "T's" typical amount of eight (8) ounces. GRAHAM reminds that they are only

obtaining ten (10) ounces from "Tez" and that "T" will only be provided with seven (7) ounces.

Upon confirming this, JONES, informs GRAHAM that he will be contacting "Tez" to let "Tez"

know that GRAHAM is on his way to meet with "Tez."

       19.     On February 4, 2020, at 9:23 a.m. (Session #14), JONES utilizing cellular

telephone number (314) 614-6381) places an outgoing call to GRAHAM (utilizing the

predecessor telephone). The following is a transcript of the intercepted telephone call:

               GRAHAM:         Hello?

               JONES:          Talk to him (Kev-o )?
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               GRAHAM:         Yeah, I'm pulling up on Kev-o now.

               JONES:         Oh really Kev-o want it? Damn! Oh he moved faster than three (3).

                              I'm headed to uh, I'm headed to big dude's crib out here in the
                                                                           ,~~




                              county. Grab that gas (high-grade marijuana), man. I ain't got

                              nothing.

               GRAHAM:        Aight.

               [ .. ]

       20.     Based upon my training and experience, the above-r~ferenced conversation appears

to indicate that GRAHAM has already picked up the ten (10) ounces offentanyl from "Tez," and

just provided "Kev-o" with the three (3) ounces as previously requested by JONES. JONES is

surprised at GRAHAM's speed, and informs GRAHAM that he is traveling to obtain marijuana

from an unknown individual.

       21.     On February 14, 2020, at 6:52 p.m. (Session #663), JONES (utilizing cellular

telephone number (314) 614-6381) places an outgoing call to GRAHAM, utilizing (the

predecessor telephone). The following is a transcript of the intercepted telephone call:

               GRAHAM:        Cµ,t-boy just called me and I told him I get off in 20-30 minutes.

               JONES:         Ah, what he said?

               GRAHAM:        He wanted five (5) (five ounces offentanyl) of them.

               JONES:         How many you got?

               GRAHAM:        I think I got five (5) or six (6) of them.

               JONES:         Yup, at mamma's, yup. I'm fixing to get out in a minute, it's seven

                              o'clock (7:00) now.

               [ ... ]
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                  GRAHAM:           Hey, I didn't call you from my other phone, did I?

                  JONES:            No.

                  GRAHAM:           I'm fixing to call you right now, so you can lock me in.

                  JONES:            Alright.

         22.      Based upon my training and experience, the preceding conversation indicates that

GRAHAM has been contacted by one (1) of JONES's fentanyl customers, "Cat-boy."

GRAHAM confirms that he has spoken with "Cat-boy," who has requested five (5) ounces of

fentanyl. GRAHAM confirms that he has between five (5) and six (6) ounces of fentanyl at his

mother's house. Later in the telephone conversation, GRAHAM asks whether has called JONES

from his (GRAHAM's) new telephone number (the subject cellular telephone). After JONES

informs GRAHAM that he has not, and GRAHAM informs JONES that he (GRAHAM) will

call JONES from the his new telephone (the subject cellular telephone). GRAHAM then

· requests that JONES store the new telephone number.

         23.      On February 14, 2020, at 6:55 p.m. (Session #664), JONES (utilizing cellular

telephone number (314) 614-6381) receives an incoming call from GRAHAM, utilizing (the

subject cellular telephone3). The following is a transcript of the intercepted telephone call:

                  JONES:            Yeah?

                  GRAHAM:           Yeah, cuz. It's me.

                 JONES:             Aight.

                  GRAHAM:           Bye-bye.

                 JONES:             Ok, fool.


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           On February 16, 2020, your affiant issued an administrative subpoena to Sprint requesting the subscriber
information pertaining to the subject cellular telephone. As of February 17, 2020, you affiant has yet to receive the
requested information from Sprint.
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        24.     Based upon my training and experience, the preceding conversation consists of

 GRAHAM contacting JONES from the "new number," so that JONES would have the "new

 number" for purposes of future communications. Since this call, GRAHAM and JONES have

 stopped communicating over the predecessor telephone, but have continued to communicate over

 the subject_ cellular telephone.

        25.     Having the continued ability to locate and monitor the movements of the subject

 cellular telephone will allow investigators to continue to locate, and identify, GRAHAM, and

· enable investigators to identify members of the organization above JONES, any other co-

 conspirators, and possible stash house locations where the controlled substances are being stored.

        26.       The investigation has demonstrated that the subject cellular telephone is being

 used in connection with the commission of offenses involving ongoing violations of Title 21,

 United States Code, Sections 846 and 841(a)(l) (the subject offenses). It is critical that the

 investigative team be able to locate and monitor the movements of the subject cellular telephone,

 thereby assisting in the location of GRAHAM if traveling on behalf of the organization to

 transport drugs and/or currency, the identification of additional co-conspirators, and assist with the
                                                                                                          \

 ability to located GRAHAM, and therefore provide the ability to seize any drugs and/or currency.

 Your affiant believes that the requested authorization would be a valuable asset in achieving the

 overall goals of the investigation

                                           CONCLUSION

        27.     Based on the above information, your affiant submits that there is probable cause

 to believe that the subject cellular telephone is currently being used in connection with the

 commission of the subject offenses, by Arie GRAHAM, and others known and unknown. There

 is also probable cause to believe that the location information described in Attachment B to the
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requested warrant and order will lead to evidence of the aforementioned subject offenses as well

as to the identification of individuals who are engaged in the commission of those criminal offense

and related crimes.

           28.           None of the investigative techniques that may be employed as a result of the present

application and affidavit require a physical intrusion into a private space or a physical trespass.

Electronic surveillance techniques such as pen register and cell site location monitoring typically

have not been limited ~o daytime use only. Furthermore, the criminal conduct being investigated

is not limited to the daytime. Therefore, the fact that the present application requests a warrant

based on probable cause should not limit the use of the requested investigative techniques to

daytime use only.                 Accordingly, the investigative agency(ies), and other authorized

federal/state/local law enforcement agencies, request the ability to employ these investigative

techniques at any time, day or night.·

           29.           The monitoring of the location of the subject cellular telephone by one of the

methods described herein will begin within ten (10) days of the date of issuance of the requested

Warrant and Order.


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                                                               Special Agent
                                                               Drug Enforcement Administration




                                                              Eastern District of Missouri


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                                           ATTACHMENT A

       The United States has submitted an application pursuant to 18 U.S.C. §§ 2703(c)(l)(A) &

B, (c)(2), and 3122 and Federal Rule of Criminal Procedure41 requesting that the Court issue a

Warrant and Order requiring a telecommunications service provider reflected in Part II of this

Attachment A, to disclose the records and other information concerning the account described in

Part I of this Attachment A.

       I.      The Account(s)

       The Order applies to certain records and information associated with the following:

 Provider       Number or identifier             Owner, if known       Subject of investigation,
 Name                                                                  if known
 Sprint         (314) 267-0816                   Unknown               Jamore CLARK, Jason
                                                                       JONES, Arie GRAHAM,
                (the subject cellular                                  and others known and
                telephone)                                             unknown


       II.     The Provider

       Records and information associated with the subject cellular telephone that is within the

possession, custody, or control of Sprint, and other applicable service providers reflected on the

list contained in this Attachment A, including information about the location of the subject cellular

telephone if it is subsequently assigned a different call number.




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                            LIST OF TELECOMMUNICATION SERVICE PROVIDERS


01 Communications                     Egyptian Telephone              Mid-Atlantic                   Socket Telecom
Access Line Communication             Electric Lightwave, Inc.        Midvale Telephone Exchange     Spectrum
ACN, Inc.                             Empire Paging                   Mobile Communications          Sprint
ACS                                   Ernest Communications           Mound Bayou Telephone Co.      SRT Wireless
Aero Communications, Inc. (IL)        EZ Talk Communications          Mpower Communications          Star Telephone Company
Afford A Phone                        FDN Communications              Navigator                      Start Wireless
Airvoice Wireless                     Fibernit Comm                     Telecommunications           Sugar Land Telephone
Alaska Communications                 Florida Cell Service            NE Nebraska Telephone          Sure West Telephone Company
Alhambra-Grantfx Telephone            Florida Digital Network         Netlink Comm                   Talk America
Altice USA                            Focal Communications            Network Services               Tele Touch Comm
AmeriTel                              Frontier Communications         Neustar                        Telecorp Comm
AOL Corp.                             FuzeBox, Inc.                   Neutral Tandem                 Telepak
Arch Communication                    Gabriel Comm                    Nex-Tech Wireless              Telispire PCS
AT&T                                  Galaxy Paging                   Nexus Communications           Telnet Worldwide
AT&T Mobility                         Global Communications           NU Comm                        Tex-Link Comm
Bell Aliant                           Global Eyes Communications      North Central Telephone        Time Warner Cable
Big River Telephone                   Global Naps                     North State Comm               T-Mobile
Birch Telecom                         Grafton Telephone Company       Northcoast Communications      Total Call International
Blackberry Corporation                Grand River                     Novacom                        Tracfone Wireless
Brivia Communications                 Grande C.omm                    Ntera                          Trinity International
Broadview Networks                    Great Plains Telephone          NTS Communications             U-Mobile
Broadvox Ltd.                         Harrisonville Telephone Co.     Oklahoma City SMSA             United Telephone of MO
Budget Prepay                         Heartland Communications        ONE Communications             United Wireless
Bulls Eye Telecom                     Hickory Telephone               ONSTAR                         US Cellular
Call Wave                             Huxley Communications           Optel Texas Telecom            US Communications
Cbeyond Inc.                          iBasis                          Orion Electronics              USLEC
CCPR Services                         IDT Corporation                 PacBell                        us Link
Cellco Partnership,                   Illinois Valley Cellular        PacWest Telecom                US West Communications
 d/b/a Verizon Wireless               Insight Phone                   PAETEC Communications          USA Mobility
Cellular One                          Integra                     '   Page Plus Communications       VarTec Telecommunications
Cellular South                        Iowa Wireless                   Page Mart, Inc.                Verisign
Centennial Communications             IQ Telecom                      Page Net.Paging                Verizon Telephone Company
CenturyLink                           J2 Global Communications        Panhandle Telephone            Verizon Wireless
Charter Communications                Leap Wireless International     Peerless Network               Viaero Wireless
Chickasaw Telephone                   Level 3 Communications          Pineland Telephone             Virgin Mobile
Choctaw Telephone Company             Locus Communications            PhoneTech                      Vonage Holdings
Cimco Comm                            Logix Communications            PhoneTel                       Wabash Telephone
Cincinnati Bell                       Longlines Wireless              Preferred Telephone            Wave2Wave Communications
Cinergy Communications                Los Angeles Cellular            Priority Communications        Weblink Wireless
Clear World Communication             Lunar Wireless                  Puretalk                       Western Wireless
Com-Cast Cable Comm.                  Madison River                   RCNTelecom                     W estlink Communications
Commercial Communications               Communications                RNK Telecom                    WhatsApp
Consolidated Communications           Madison/Macoupin Telephone      QWEST Communications           Windstream Communications
Cox Communications                      Company                       Sage Telecom                   Wirefly
Cricket Wireless                      Mankato Citizens Telephone      Seren Innovations              XFinity
Custer Telephone Cooperative          Map Mobile Comm                 Shentel                        XO Communications
DBS Communications                    Marathon Comm                   SigecomLLC                     Xspedius
Delta Communications                  Mark Twain Rural                Sky Tel Paging                 Y akdin Valley Telephone
Detroit Cellular                      Max-Tel Communications          Smart Beep Paging              YMAX Communications
Dobson Cellular                       Metro PCS                       Smart City Telecom         I
                                                                                                     Ztel Communications 4
                                      Metro Teleconnect




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                                        ATTACHMENT B

       It is· hereby ordered, pursuant to 18 U.S.C. §§ 2703(c)(l)(A) &(B), (c)(2) and 3123 and

Federal Rule of Criminal Procedure 41, that the Provider(s) identified in Attachment A shall

disclose to the United States the following:

I.     PRECISION LOCATION INFORMATION

       A.      Information to be Disclosed by the Provider

       All information for the following time period of forty-five days from the date of this

Warrant and Order, that is for the time period from February 19, 2020 to April 3, 2020, 11 :59

p.m. (CT) during all times of day and night, regarding the location of the subject cellular telephone

described in Attachment A.

       "Information about the location of the subject cellular telephone" includes all available E-

911 Phase II data, GPS data, latitude-longitude data, and other precision location information, as

well as all data about which "cell towers" (i.e., antenna towers covering specific geographic areas)

and "sectors" (i.e., faces of the towers) received a radio signal from the cellular telephone described

in Attachment A.

       To the extent that the information described in the previous paragraph (hereinafter,

"Location Information") is within the possession, custody, or control of the Provider, the Provider

is required to disclose the Location Information to the investigative agency(ies).

       B.      Information to Be Seized by the United States

       All information described above in Part I, Section A that constitutes evidence of violations

of Title 21, United States Code, Section(s) 846 and 841(a)(l) (Conspiracy to Possess with Intent

to Distribute a Controlled Substance(s) and Possession with Intent to Distribute a Controlled




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Substance(s)) and other offenses of Federal law (hereinafter referred to as "the subject offenses"),

by Jamore CLARK, Jason JONES, Arie GRAHAM, and others known and unknown.

II.    CELL TOWER RECORDS AND OTHER TELECOMMUNICATION DATA

       For the subject cellular telephone identified in Attachment A, the following

telecommunication records and information, but not the contents of any communication for the

past thirty (30) days from the date of this Warrant and Order and at reasonable intervals for up to

forty-five (45) days from the date ofthis W!1ffant and Order, the following:

      ' Information to be Disclosed by the Provider

               1.      All available names, addresses, and identifying information, and other

subscriber and service feature information and types of service utilized;

               2.      Length of service;

               3.      All telephone numbers, Electronic Serial Number ("ESN"), a Mobile

Electronic Identity Number ("MEIN"), a Mobile Identification Number ("MIN"), a Subscriber

Identity Module ("SIM"), an International Mobile Subscriber ·Identifier ("IMSI"), a Mobile

Subscriber Integrated Services Digital Network Number ("MSISDN"), or an International Mobile

Station Equipment Identity ("IMEi") numbers, including any and all customer service records,

credit and billing records, can-be-reached numbers (CBR), enhanced custom calling features, and

primary long-distance carrier;

               4.      Subscriber information available for any originating telephone number;

               5.      Automated Messaging Accounting (AMA) records (a carrier billing

mechanism data base search which provides records of originating and terminating caller

information for calls to the subject cellular telephone) for the above-specified time period;




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                6.     Means and source of payment for services, including any credit card or bank

account number, and air-time summaries for available service periods, for the IP (internet protocol)

addresses being utilized by and signaled to and from the aforementioned subject cellular telephone;

                7.     Cellular telephone records and information pertaining to the following, for

the above-specified time period:

                       (a)     call detail information (provided in an electronic format specified

by the agents/officers of the investigative agency(ies), and other authorized federal/state/local law

enforcement agencies);

                       (b)     cell site activation information, including information identifying

the antenna tower receiving transmissions from the subject cellular telephone number, and any

information on what portion of that tower is receiving a transmission from the subject cellular

telephone number, at the beginning and end of a particular telephone call made to or received by

the subject cellular telephone number;

                       (c)     numbers dialed;

                       (d)     call duration;

                       (e)     incoming numbers if identified;

                       (f)    · signaling information pertaining to that number;

                       (g)     a listing of all control channels and their corresponding cell sites;

                       (h)     an engineering map showing all cell site tower locations, sectors and

orientations;

                       (i)     subscriber information, including the names, addresses, credit and

billing information, published and non-published for the telephone numbers being dialed from the

subject cellular telephone;

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                        G)        historical location estimates, such as Network Event Location

System (NELOS), round-trip time (RTT), GPS, and per-call measurement data (PCMD); and,

                        (k)       Internet Protocol (IP addresses) utilized by and signaled to and from

the subject cellular telephone.


III.   PEN REGISTERS AND TRAP AND TRACE DEVICES

       For the subject cellular telephone identified in Attachment A for a period of forty-five (45)

days from the date of this Warrant and Order, the following:

        1.      Pursuant to Title 18, United States Code, Section 3123, pen register and trap and

trace devices, including enhanced caller identification, may be installed by the investigative

agency(ies) and used to record or decode dialing, routing, addressing, or signaling information,

and to capture the incoming electronic or other impulses, which identify the originating number or

other dialing, routing, addressing and signaling information reasonably likely to identify the source

of a wire or electronic communication to and from the subject cellular telephone nuniber, including

the direct connect, Voice-over-LTE (VoLTE), non-content data transmissions, or digital dispatch

dialings (if applicable), the dates and times of such dialings, and the length of time of the

connections, pertaining to the subject cellular telephone described in Attachment A., including the
                                                                '

date, time, and duration of the communication, and the following, without geographic limit,

including:

             a. IP addresses associated with the cell phone device or devices used to send or receive

                electronic communications;

             b. Any unique identifiers associated with the cell phone device or devices used to

                make and receive calls with cell phone number described in Attachment A, or to



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                send or receive other electronic communications, including the ESN, MEIN, IMSI,

               IMEi, SIM, MSISDN, or MIN;

            c. IP addresses of any websites or other servers to which the subject cellular telephone

               connected;

            d. Source and destination telephone numbers and email addresses;

            e. "Post-cut-through.dialed digits,'' which are digits dialed after the initial call set up

               is completed, subject to the limitations of 18 U.S.C. § 3121(c).

       2.      The Provider, and/or any telecommunications service providers reflected in

Attachment A, to include providers of any type of wire and/or electronic communications, and any

other applicable service providers, shall initiate caller identification on the subject cellular

telephone identified in Attachment A, without the knowledge of or notification to the subscriber,

for the purpose of registering incoming telephone numbers

       3.      The Providers reflected in Attachment A, to include providers of any type of wire

and/or electronic communications, and any other applicable service providers, shall furnish the

agents/officers of the investigative agency(ies), and other authorized .[ederal/state/local law

enforcement agencies, forthwith all information, facilities, and technical assistance necessary to

accomplish the installation and use of the pen register and trap and trace devices, including

enhanced caller identification, unobtrusively and with minimum interference to the services that

are accorded persons with respect to whom the installation and use is to take place.

       4.      The Providers reflected in Attachment A, to include providers of any type of wire

and/or electronic communications, and any other applicable· telecommunications service

providers, shall provide the agents/officers of the investigative agency(ies), and other authorized

federal/state/local law enforcement agencies, with the results of the pen register and trap and trace

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devices, including enhanced caller identification, at reasonable intervals for the duration of this

Warrant and Order.

       5.      Should the subject cellular telephone identified in Attachment A and/or ESN, MIN,

IMEI, MSID or IMSI number listed above be changed by the subscriber during the effective period

of this Order, the request for pen register and trap and trace devices, including enhanced caller

identification, shall remain in effect for any new telephone to which the subject cellular telephone

listed above is changed throughout the effective period of these Warrants and Orders.

       6.      The Providers reflected in Attachment A, to include providers of any type of wire

and/or electronic communications, and any other applicable service providers, shall be provided

compensation by the lead investigative agency for reasonable expenses incurred in providing

technical assistance.

       7.      Pursuant to Title 18, United States Code, Sections 3123(d)(l) and (2), the Provider,

and the service providers reflected in Attachment A, to include providers of any type of wire and/or

electronic communications, and any other applicable service providers, shall not disclose the

existence of this application and/or any warrant or order issued upon this application, or the

existence of the investigation, for a period of one year from the date of this Order to a subscriber

or lessee or to any other person, except that the provider may disclose the warrant to an attorney

for the provider for the purpose of receiving legal advice.

       This Warrant and Order does not authorize interception of any communications as defined

in Title 18, United States Code, Section 2510(4), but authorizes only the disclosure of signaling

information, including cell site information, precision location information, including GPS

information, related to the subject cellular telephone.




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       The investigative agency(ies), and other authorized federal/state/local law enforcement

agencies, to whom this Warrant and Order is directed will begin monitoring the location of the

subject cellular telephone by one of the methods described in this Warrant within ten (10) days of

the date of this Warrant and Order.




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